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1    MICHAEL J. MICELI, ESQ.
     Nevada bar No. 10151
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     601 LAS VEGAS BOULEVARD, SOUTH
3    LAS VEGAS, NEVADA 89101
     Phone: 702.474.7554 Facsimile: 702.474.4210
4    Email: kristine.fumolaw@gmail.com
     Attorney for Defendant
5    GLEN BURKE
6
                                 UNITED STATES DISTRICT COURT
7                                     DISTRICT OF NEVADA
                                              ***
8

9    UNITED STATES OF AMERICA                  )                  2:16-CR-00262-JAD-PAL
                                               )
10
                 Plaintiff                     )
11   v.                                        )
                                               )
12   GLEN BURKE,                               )
                                               )
13
                 Defendant                     )
14   __________________________________________)
15               STIPULATED MOTION AND ORDER TO RETURN PASSPORT
16
            IT IS HEREBY STIPULATED AND AGREED by and between MICHAEL J. MICELI,
17
     ESQ. Counsel for Defendant GLEN BURKE and TIMOTHY FINLEY, UNITED STATES
18
     DEPARTMENT OF JUSTICE, that the passport currently in the possession of US Pretrial
19
     Services will be held in the possession of pretrial services until Defendant Burke surrenders to
20
     the custody of BOP, and then it will be returned to Defendant Burke’s attorney Michael J.
21
     Miceli, and that it will remain in the custody of Mr. Miceli’s law office until Defendant Burke is
22
     released from custody.
23
            This Stipulation is entered into for the following reasons:
24
             1. On or about March 14, 2018, Defendant Burke was sentenced to a term of 87 months
25

26
                 incarceration pursuant to the judgment of this Court. Defendant Burke has a

27               surrender date of October 8, 2018.
28
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1         2. Defendant Burke has been on pretrial release since his initial arrest and has complied
2
             with all terms of release.
3
          3. US Pretrial Services is currently in possession of Defendant Burke’s passport.
4

5
          4. Counsel has been informed by pretrial officer Kelly Bowen that if counsel does not

6            obtain the passport that it will be sent to the State Department to be destroyed.
7         5. Counsel is informed that US Pretrial Services needs an Order from this Court in
8
             order to release Burke’s passport.
9
          6. US Pretrial Services Officer Kelly Bowen has no objection to returning the passport
10

11           to counsel, if the Court so orders.

12        7. If the passport is returned, counsel will hold onto the passport during the time period
13
             that Mr. Burke is incarcerated, and will not give the passport back to Mr. Burke prior
14
             to release from incarceration without an order from this court.
15
          8. Based upon the above and foregoing, Counsel submits that good cause appearing
16

17           that the Court issue an Order allowing Pretrial Services to return Defendant Burke's

18           passport to counsel after his surrender date of October 5, 2018.
19
             DATED: May 10, 2018
20

21

22

23         /S/                             /S/
     MICHAEL J. MICELI, ESQ.        TIM FINLEY, ESQ.
24
     601 LAS VEGAS BOULEVARD, SOUTH UNITED STATES DEPARTMENT OF JUSTICE
25   LAS VEGAS, NEVADA 89101        450 5TH STREET N.W. #6400
     ATTORNEY FOR THE DEFENDANT     WASHINGTON D.C. 20001
26   GLEN BURKE                     ATTORNEY FOR UNITED STATES OF
27
                                    AMERICA

28
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5    GLEN BURKE
6
                                   UNITED STATES DISTRICT COURT
7                                       DISTRICT OF NEVADA
                                                ***
8

9    UNITED STATES OF AMERICA                            )       2: 16-CR-00262-JAD-PAL
                                                         )
10
                       Plaintiff                         )
11   v.                                                  )
                                                         )
12   GLEN BURKE,                                  )
                                               )
13
                 Defendant                     )
14   __________________________________________)
                                        ORDER
15

16          IT IS HEREBY ORDERED that Glen Burke’s Passport be returned to Defendant Burke’s
17   attorney Michael J. Miceli after Defendant Burke surrenders to the Bureau of Prisons on October
18   5, 2018 and that Mr. Miceli maintain custody of the passport during the time period that Mr.
19   Burke is incarcerated, and not give the passport back to Mr. Burke prior to release from
20   incarceration.”
21         DATED
            DATEDthis
                  this 11th
                       _____day
                             dayofofMay, 2018.
                                     ____________________, 2018.
22

23                                                ________________________________________
24
                                                  U.S. DISTRICT JUDGE

25

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27

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